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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF CONNECTICUT


BINAH GORDON, KAY MAYERS,
ALMA AVALLE, JAMIE HOMNICK,
GENNIFER HERLEY and S.N.,                Case No. 3:24-CV-01447-VAB
individually and on behalf of all
similarly situated individuals,

            Plaintiffs,
                                         June 6, 2025
v.

AETNA LIFE INSURANCE COMPANY,

            Defendant.




                        REPLY IN SUPPORT OF
                   DEFENDANT’S MOTION TO DISMISS
        PLAINTIFFS’ SECOND AMENDED CLASS ACTION COMPLAINT
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       Defendant Aetna Life Insurance Company (“Aetna”) respectfully submits this reply in

support of its motion to dismiss Plaintiffs’ Second Amended Class Action Complaint (“Am.

Compl.”) pursuant to Federal Rules of Civil Procedure 12(b)(1), 12(b)(6) and 12(b)(7) (“Mot.”)

[Dkt. 78] in response to Plaintiffs’ Opposition to Aetna’s motion (“Opp.”) [Dkt. 123].

A.     FEHBA Exclusive Remedy: Plaintiff Gordon’s sole remedy under her FEHBA Plan
       lies against OPM.

       Plaintiff Gordon’s attempt to circumvent the exclusive remedy provision of the FEHBA

completely misses the mark. Her claim, by definition, is one for health benefits—benefits that

exist solely by virtue of the FEHBA and her health benefit plan. The cases she cites for the

proposition that FEHBA members can sue insurance companies for federal and statutory law

violations are completely inapposite, because they deal with preemption of state law claims.

However, those authorities nonetheless reinforce Aetna’s motion.

       Only one case involved insurance benefits, and the court there held that a state law claim

affecting insurance benefit claims was preempted by FEHBA. Negron v. Patel, 6 F. Supp. 2d

366, 370 (E.D. Pa. 1998) (state law bad faith claim against insurance company was “an easy case

for FEHBA preemption”). In the other two cases, the courts found that the claims at issue were

not preempted by the FEHBA because they were completely unrelated to a denial of insurance

benefits. See Roach v. Mail Handlers Ben. Plan, 298 F.3d 847, 851 (9th Cir. 2002) (medical

malpractice claim where the member never sought insurance coverage); In re Anthem, Inc. Data

Breach Lit., 162 F. Supp. 3d 953, 1014 (N.D. Cal. 2016) (unfair competition claim).

       Ms. Gordon’s ACA claim is akin to the one in Negron—although it is, on its face, a claim

for discrimination, it challenges Aetna’s handling of a claim for benefits in a way that implicates

the FEHBA and necessitates OPM’s participation. As the court noted in Roach, tort claims

relating to the administration of a FEHBA benefit claim are not separable from the terms of the
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underlying FEHBA contract. Roach, 298 F.3d at 850 (citing Hayes v. Prudential Ins. Co. of Am.,

819 F.2d 921, 925 (9th Cir. 1987)). The same is true of Ms. Gordon’s ACA claim.

B.     Article III Standing: Plaintiffs Gordon, Mayers, Avalle, Homnick and Herley lack
       standing under Article III and their claims must be dismissed under Rule 12(b)(1).

       Plaintiffs Gordon and S.N.—the “Damages Plaintiffs”—seek to represent a Damages

Class to recover “economic losses, including but not limited to expenses incurred paying out-of-

pocket for GAFR surgeries.” Opp. at 17. Plaintiffs Mayers, Homnick and Herley (along with

Plaintiff Avalle)—the “Injunctive Relief Plaintiffs”—seek to represent an Injunctive Relief Class

for declaratory and prospective injunctive relief to address “Aetna’s continued application” of its

GAFR policy. Opp. at 15-16. See also Am. Compl. at p. 52; Rule 26(f) Report [Dkt. 49] at 3.

       Plaintiff Gordon (Damages Plaintiff). The Damages Plaintiffs’ claims are restricted to

economic losses because damages for emotional distress are not recoverable under the ACA.

Cummings v. Premier Rehab Keller, P.L.L.C., 142 S.Ct. 1562, 1576 (2022). Courts applying

Cummings have made clear that the ACA does not support damages, however characterized, that

“are proxies for impermissible emotional distress damages.” Doe v. Fairfax Cnty. Sch. Bd., No.

18-cv-00614 (MSN)(IDD), 2023 WL 424265, at * 5-6 (E.D. Va. Jan. 25, 2023); see also A.T. v.

Oley Valley Sch. Dist., No. 17-cv-4983 (JLS), 2023 WL 1453143 (E.D. Pa. Feb. 1, 2023). The

Damages Plaintiffs here thus properly limit their claims to purely economic losses.

       Moreover, a claim is moot where “(1) it can be said with assurance that there is no

reasonable expectation ... that the alleged violation will recur, and (2) interim relief or events

have completely and irrevocably eradicated the effects of the alleged violation.” County of Los

Angeles v. Davis, 440 U.S. 625, 631 (1979).

       Ms. Gordon appealed Aetna’s coverage decision to her plan sponsor, OPM, which

approved, and directed Aetna to cover, the gender-affirming coverage she sought. Opp at. 8; Am.



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Compl. at ¶¶ 45, 50. OPM also revised the benefit terms of its FEHBA Plan to expressly provide

coverage for certain gender-affirming surgeries. Id. at ¶ 148. Ms. Gordon has received the GAFR

surgeries she sought, apparently funded by “community donations and monetary support from a

friend.” Opp. at 8; see also Am. Compl. at ¶¶ 47-49. Despite OPM’s approval of her GAFR

coverage, however, Ms. Gordon has never submitted any request to Aetna or OPM for

reimbursement for the cost of her procedures. Mot. at 8, Sheehy Decl. ¶ 7.

       Plaintiff makes clear that she alleges no future injury and that her claim is solely one for past

monetary loss. See Opp. at 17. But she offers no explanation for her failure to submit a claim for

reimbursement for any past expenses she may have incurred. It may be that because she incurred no

actual out-of-pocket costs herself, there was no reimbursement to submit under her Plan. 1

       In sum, Plaintiff Gordon does not allege that she has suffered any actual past economic loss,

much less any loss that would not have been paid had she simply submitted a reimbursement claim

under her FEHBA Plan. Her claim here is moot, and she lacks Article III standing, because she

alleges no injury that this Court can address that she could not already have remedied had she

pursued the coverage OPM approved.

       Plaintiff Mayers (Injunctive Relief Plaintiff). The Injunctive Relief Plaintiffs concede that

to obtain prospective equitable relief, they must show a likelihood they will be injured in the

future. Opp. at 15-16. See McCormick ex rel. McCormick v. Sch. Dist. of Mamaroneck, 370 F.3d

275, 284 (2d Cir. 2004). To satisfy the injury in fact requirement for equitable relief, Plaintiffs

must allege an “actual or imminent, not conjectural or hypothetical” threat of injury. Spokeo,


1
  Ms. Gordon left her employment, and her FEHBA coverage lapsed, effective December 31, 2023.
Mot. at 8, Sheehy Decl. ¶ 8. But she received the GAFR surgeries in 2023, while still covered
under her FEHBA Plan, and the termination of her employment would not impact her right to
seek reimbursement for procedures she received during her employment, assuming she actually
paid out-of-pocket for them.


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Inc. v. Robins, 578 U.S. 330, 339 (2016). They cannot establish the requisite prospective harm

simply by pointing to some past injury. City of Los Angeles v. Lyons, 461 U.S. 95, 109 (1983);

see also Berni v. Barilla S.p.A., 964 F.3d 141, 146-47 (2d Cir. 2020).

       Ms. Mayers appealed Aetna’s initial decision, and Aetna overturned its denial and authorized

the procedures Ms. Mayer requested on December 3, 2024. Mot. at 9, Powell Decl. ¶ 6 and Ex. B.

In addition, her employer retroactively removed the GAFR exclusions from its Plan and authorized

Aetna to approve Ms. Mayers’ request. Mot. at 9, Strickland Decl. ¶ 6.

       Ms. Mayers lacks Article III standing to seek declaratory and prospective injunctive relief

because her employer has revised its Plan to provide the GAFR coverage she sought, and her

coverage request and claims have been approved for payment. She faces no actual or imminent

threat of future injury sufficient to support standing to seek prospective equitable relief. 2

       Plaintiffs Avalle, Homnick, and Herley (Injunctive Relief Plaintiffs). These Plaintiffs

seek only declaratory and prospective injunctive relief, which they argue “would remove the

primary barrier categorically denying them coverage for GAFR.” Opp. at 20. But the injury

these Plaintiffs allege is not one that is traceable to Aetna or one the Court can redress because

the injunction they seek against Aetna alone will not remedy the harm they allege. Absent their

employers, who control the benefits under their plans, the Court lacks the power to order the plan

coverage and fund the medical care Plaintiffs ultimately seek.

       Plaintiffs’ own pleadings make this clear. Plaintiffs acknowledge that three of them

completed the administrative review offered by their plans, with the result that two of their


2
  Plaintiff Mayers seeks only prospective equitable relief as a member of the Injunctive Relief
Class. She also lacks Article III standing to seek monetary relief, however, because her GAFR
coverage has been approved and her claim is moot. Plaintiffs acknowledge in their Opposition
that Ms. Mayers received her GAFR surgery in April 2025 but do not assert that she has
submitted any reimbursement claim to Aetna for payment. See Opp. at 9, n. 11.


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employers (Gordon and Mayers) revised their plans to provide the GAFR coverage these two

Plaintiffs requested (Am. Compl. at ¶¶ 50, 66, 148; see also Mot. at 9, Strickland Decl. ¶ 6), while

the third employer (Homnick), after extensive discussions, specifically declined to cover most GAFR

procedures under its plan (Am. Compl. at ¶ 88). The remaining two Injunctive Relief Plaintiffs

(Avalle and Herley) never pursed the administrative review their plans offered, with the result

that neither employer was given an opportunity to directly consider their GAFR requests. See

Mot. at 11, 15. Powell Decl. ¶¶ 5, 17.

        Plaintiffs cite no authority for the proposition that Aetna is empowered to approve a different

benefit than Plaintiffs’ employers intended—especially where, as in the case of Dr. Homnick, the

employer has directed that its plan does not cover the requested benefit. Nor do they explain how

an injunction against Aetna alone could compel their employers to cover and fund the medical

care they seek under a plan that specifically disallows it. Plaintiffs lack Article III standing

because they cannot establish that the injury they allege (denial of facial gender-affirming

surgery under their employer-funded health plans) is one that is traceable to Aetna or that the

Court can redress by an injunction against Aetna alone. Redressability requires a showing that

“it is likely and not merely speculative that the plaintiff’s injury will be remedied by the relief

plaintiff seeks in bringing suit.” Sprint Commc’ns Co., L.P. v. APCC Servs., 554 U.S. 269, 273

(2008). And “it is a bedrock principle that a federal court cannot redress injury that results from

the independent action of some third party not before the court.” Murthy v. Missouri, 603 U.S.

43, 57 (2024). 3



3
  Plaintiffs Gordon and S.N. are no longer covered by an Aetna-administered plan and thus lack
standing for prospective equitable relief. Plaintiff Gordon seeks only monetary relief as a
member of the Damages Class, but that claim is moot. Plaintiff S.N. also seeks only monetary
relief (Opp. at 17).


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C.     ERISA Exhaustion: Plaintiff Avalle’s claim must be dismissed pursuant to Rule
       12(b)(6) because she failed to exhaust her administrative remedies under the
       ERISA-governed plan.

       Plaintiff Avalle’s plan was created under and is governed by ERISA. The plan confers

certain benefits—but those benefits are expressly subject to a mandatory administrative review

process designed to avoid unnecessary litigation. Kennedy v. Empire Blue Cross & Blue Shield,

989 F.2d 588, 594 (2d Cir. 1993). Deference to this administrative process “promotes efficiency

by encouraging resolution of benefits disputes through internal administrative proceedings rather

than costly litigation.” Conkright v. Frommert, 559 U.S. 506, 517 (2010).

       Such deference is especially appropriate here, as Plaintiffs’ own circumstances illustrate. The

only two Plaintiffs who pursued the full administrative review afforded by their plans (Gordon and

Mayers) both ultimately received the GAFR coverage they sought.

       Ms. Avalle’s claim is premature because she has not exhausted the administrative process

required by her plan to afford her employer an opportunity to consider her coverage request. Her

claim should be dismissed without prejudice until she exhausts her administrative remedies.

D.     Rule 19 Joinder: Plaintiffs’ Amended Complaint should be dismissed pursuant to
       Rule 12(b)(7) because Plaintiffs have failed to join employers, plans and plan
       administrators that are necessary and indispensable parties.

       Even allowing for the deference afforded Plaintiffs at the pleading stage, one fact is

inescapable: the end result Plaintiffs seek is payment for GAFR coverage under their respective

employer’s plans—to, in their words, “put the absent parties [the employers] in the position of

paying what they always owed as a benefit under the plan.” Opp. at 32. Aetna is not the insurer

of these plans, however; rather, the plans were created, administered and entirely funded by the

employers. Plaintiffs intentionally have not joined the employers here—indeed, Plaintiffs do not

contest that this Court lacks jurisdiction over them—but the absent employers’ plans and

finances are plainly and inextricably impacted by the outcome of this litigation.


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       1.      Plaintiffs’ employers and plans are necessary parties.

       The ACA creates no freestanding right to plan benefits. The ACA “does not…require

covered entities to cover any particular procedure or treatment.” Schmitt v. Kaiser Found.

Health Plan of Washington, 965 F.3d 945 (9th Cir. 2020). Any entitlement Plaintiffs may have

to GAFR benefits arises solely by virtue of the plans their employers created and fund. The

essential relief Plaintiffs seek—declaratory and injunctive relief reforming their plans and,

ultimately, requiring payment of particular benefits by their employers—can be achieved only

through the plans and the employers responsible for each plan.

       Plaintiffs’ own circumstances make this clear. One Plaintiff (Homnick) took her GAFR

request directly to her employer, who, after extensive discussion and consideration, concluded

that its plan does not cover all of the procedures she sought. The employers for two other

Plaintiffs (Gordon and Mayers) revised their plans and approved Plaintiffs’ coverage requests,

and it is unclear what more these Plaintiffs expect from their employers—but whatever that

might be, they have not explained how Aetna alone is empowered to provide it.

       Plaintiffs acknowledge that necessary parties under Rule 19(a) are “those parties whose

ability to protect their interests would be impaired because of that party’s absence from

litigation.” Opp. at 31 (quoting MasterCard Int’l Inc. v. Visa Int’l Serv. Ass’n, Inc., 471 F.3d

377, 387 (2nd Cir. 2006)). Plaintiffs also concede that their ultimate goal is to require their

employers to cover and pay for GAFR under their plans (Opp. at 32)—relief that undeniably can

be afforded only by the employers themselves, with direct and inevitable impact to their plans

and coffers. Yet they seek to deny their employers the ability to be heard on these matters in

which they so clearly have a vital interest.

       Plaintiffs’ assertion that the absent employers are “extraneous” and have “no legally

protected interest” in the outcome of this litigation (Opp. at 30, 31) is incorrect and, indeed, is


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belied by the very cases they cite. In Northrop Corp. v. McDonnell Douglas Corp., 705 F.2d

1030, 1043 (9th Cir. 1983), the court declined to join a governmental entity that was not a party to

the underlying contract in dispute. The court recognized the general rule, however, “that all parties

who may be affected by a suit to set aside a contract must be present.” Id. at 1044. Similarly, in

Peregrine Myanmar Ltd. v. Segal, 89 F.3d 41, 49 (2d Cir. 1996), the court held that a foreign

ministry was not a necessary party under Rule 19 because the litigation would not “require[] the

Ministry to do anything or change any of its positions.”

       Neither circumstance applies here, of course, where Plaintiffs’ avowed goal is to require

each of the absent employers to “pay[] what they always owed as a benefit under the plan.” Opp.

at 32. Here, “the potential for prejudice is obvious. ‘No procedural principle is more deeply

imbedded in the common law than that, in an action to set aside a lease or a contract, all parties

who may affected by the determination of the action are indispensable.’” Legal Aid Society v.

City of New York, 114 F.Supp.2d 204, 221 (S.D.N.Y. 2000) (quoting Crouse-Hinds Co. v.

Internorth, Inc., 634 F.2d 690, 701 (2d Cir. 1980)).

       2.      Plaintiffs’ employers and plans are indispensable parties that cannot be
               joined.

       As Plaintiffs acknowledge, a party is indispensable under Rule 19(b) when “in equity and

good conscience, the party is one without whom the action between the remaining parties cannot

proceed.” Am. Trucking Ass’n, Inc. v. New York State Thruway Auth., 795 F.3d 351, 357 (2d

Cir. 2015); see Opp. at 32-33. The determination whether an absent party is indispensable turns

on “pragmatic considerations, especially the effect on parties and the litigation.” In re Torcise,

116 F.3d 860, 865 (11th Cir. 1997).




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       While Plaintiffs engage in considerable verbal gymnastics to suggest otherwise, they

ultimately concede, as they must, that their goal is to require their employers to provide and pay

for GAFR coverage. That is the inescapable, pragmatic consequence of the relief they seek.

       Indeed, a prominent subtext throughout Plaintiffs’ complaint and briefing is that Aetna—

and, by extension, the employers whose plans Aetna administers—should be required to apply

generally the regulatory mandates of a handful of states that require coverage for facial gender-

affirming surgeries. See Am. Compl. at ¶ 147, Opp. at 6-7, 24 n. 17. But Plaintiffs’ employer-

funded plans are not insurance contracts—Aetna does not underwrite them—and the plans thus

are not subject to state insurance regulations. FMC Corp. v. Holliday, 498 U.S. 52, 64 (1990)

(“[I]f the plan is uninsured, the State may not regulate it.”). Plaintiffs’ plain, though

unacknowledged, goal in this litigation is to employ the ACA as a vehicle to subject their

employers—and, indeed, every self-funding employer in the country—to these state-law

insurance mandates, using Aetna as a surrogate.

       Plaintiffs’ employers, whose plans and coffers are so plainly the ultimate targets of this

litigation, are indispensable parties under Rule 19(b) precisely because it would be inequitable to

proceed without affording them an opportunity to be heard. See, e.g., Lynch v. Sperry Rand

Corp., 62 F.R.D. 78, 83-4 (S.D.N.Y. 1973) (Unions that negotiated the employers’ retirement

plan were necessary and indispensable parties: “Once the validity of certain provisions in the

agreements has been ruled on, the absent union’s interests are affected without their having been

accorded an opportunity to be heard by the court.”). 4



4
  Plaintiff’s citation to the Berton and Kulwicki decisions is misplaced. See Opp. at 20-21, 28-29.
While the court in Berton held that the plan sponsor was not a necessary party at the pleading
stage of the case, the court explicitly noted that it “may revisit this issue once a more complete
factual record is developed” because “at the pleading stage, the [c]ourt cannot say as a matter of
law that [the] plaintiff necessarily would be able to obtain complete relief without the [plan


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       3.      Plaintiffs’ employers and plans cannot be joined, so dismissal is appropriate.

       Plaintiffs do not contest that this Court lacks jurisdiction over their employers and

concede that dismissal is warranted where “the defect cannot be cured.” Opp. at 33. Dismissal

is appropriate here, pursuant to Rule 19(b)(4), because each plaintiff “would have an adequate

remedy if the action were dismissed for nonjoinder”—i.e., an action joining their employer in a

proper jurisdictional forum.

       Alternatively, the Court should dismiss Plaintiffs’ claims for equitable relief, which are

aimed at and so clearly prejudice the absent employers and their plans. See Legal Aid Society,

114 F.Supp.2d at 221 (dismissing request for injunctive relief to ameliorate prejudice to absent

party while retaining claim for monetary damages addressed solely against defendant). 5

                                          *       *       *

        For the foregoing reasons, Aetna respectfully requests the Court dismiss Plaintiffs’

Amended Complaint pursuant to Rules 12(b)(1), 12(b)(6) and 12(b)(7).



sponsor] as a party.” Berton v. Aetna Inc., No. 23-cv-01849 (HSG), 2024 WL 869651, at *6
(N.D. Cal. Feb. 29, 2024). And the court in Kulwicki directed the parties to conduct discovery
on the plan sponsor’s role in the benefit design of its self-funded plan. Kulwicki v. Aetna Life Ins.
Co., No. 22-cv-229 (VDO) (D. Conn. 2024).
5
  Plaintiffs insist that their claims for monetary relief are directed only at Aetna; that they do not
seek the payment of plan benefits but rather only “damages” for Aetna’s denial of their GAFR
coverage. Opp. at 28-29. Plaintiffs do not explain, however, how the damages they seek amount
to anything other than a payment of plan benefits—especially since the Supreme Court made
clear in Cummings that emotional distress damages are not available under the ACA. To the
extent Plaintiffs damages amount to the payment of plan benefits, those damages, even if
nominally awarded against Aetna, ultimately would be chargeable to each employer’s plan.
Because it is unclear at this stage precisely what “damages” Plaintiffs seek, however, the Court
could address the most immediate prejudice to the absent employers by dismissing Plaintiffs’
claims for equitable or injunctive relief and reserving for later resolution the question whether
Plaintiffs’ claims for monetary damages also necessarily impact and prejudice their absent
employers. A similar approach was taken by the court when faced with a nearly identical
question in Kulwicki, supra., where the court dismissed claims for injunctive relief and allowed
discovery to proceed on the role of the plan sponsor at issue there.


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                                      CERTIFICATION

       I hereby certify that on June 6, 2025, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by email to all parties by operation of the Court’s electronic

filing system or by mail to anyone unable to accept electronic filing as indicated on the Notice of

Electronic Filing. Parties may access this filing through the Court’s CM/ECF System.

Dated: June 6, 2025


                                                     /s/ Theodore J. Tucci
                                                         Theodore J. Tucci




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